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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                                                                    February 14, 2023
                   UNITED STATES DISTRICT COURT
                                                                    Nathan Ochsner, Clerk
                    SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION

STATE OF TEXAS, et al.,   §
                          §
        Plaintiffs,       §
                          §
VS.                       §                         3:23-cv-17
                          §
UNITED STATES             §
ENVIRONMENTAL PROTECTION, §
et al.,                   §
                          §
        Defendants.       §

                                 ORDER

     Before the court is Bayou City Waterkeeper’s unopposed motion to

intervene as a matter of right under Fed. R. Civ. P. 24(a) or, alternatively,

requesting permissive intervention pursuant to Fed. R. Civ. P. 24(b). Dkt. 2.

Finding that it satisfies the standards for both tests, the court grants the

motion.

     Signed on Galveston Island this 14th day of February, 2023.




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                                      JEFFREY VINCENT BROWN
                                      UNITED STATES DISTRICT JUDGE
